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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

Health Discovery Corporation

       Plaintiff,                                  Civil Action No. 6:22-cv-356-ADA-DTG

               v.

Intel Corporation                                  JURY TRIAL DEMANDED

       Defendant.


   HEALTH DISCOVERY CORPORATION’S REPLY TO INTEL CORPORATION’S
        OPPOSITION TO REQUEST TO USE PREVIOUS CASE NUMBER

       Plaintiff Health Discovery Corporation’s (“HDC”)’s refiled complaint should be allowed

to proceed under the original case number, 6:20-cv-00666-ADA. HDC could not have amended

its original complaint because the Court administratively closed the case. Dkt. 66 in 6:20-cv-

00666-ADA. Thus, contrary to Intel’s assertion, HDC made no “strategic decision to file a new

complaint under a new case number” as this procedure was mandated by the Court’s closure of the

original case. HDC’s refiled complaint is functionally an amended complaint and should be treated

as such—it is virtually identical to the original complaint, involving the same parties and the same

patents and essentially the same claims for infringement and defenses. The only significant

difference is HDC added additional factual allegations concerning the subject matter eligibility of

the patents.

       HDC’s refiled complaint should relate back because it is functionally an amended

complaint. “The relation-back doctrine is controlled ‘not by the caption given a particular cause of

action, but by the underlying facts upon which the cause of action is based.’” Cornett v. United

Airlines, Inc., No. A-18-CV-698 LY, 2019 U.S. Dist. LEXIS 191636, at *13 (W.D. Tex. Nov. 5,
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2019), citing Watkins v. Lujan, 922 F.2d 261, 265 (5th Cir. 1991). Courts should apply the relation

back doctrine “liberally,” with the key consideration being whether “the original complaint put the

defendant on adequate notice of the claim.” Id., citing Galvan v. Bexar County, Tex., 785 F.2d

1298, 1305 (5th Cir. 1986). Here, HDC’s refiled complaint more than adequately put Intel on

notice because it involves a virtually identical set of facts and is functionally an amended

complaint. See Cave Man Kitchens, Inc. v. Caveman Foods, LLC, No. 2:18-cv-01274 RAJ, 2019

U.S. Dist. LEXIS 140135, at *10 (W.D. Wash. Aug. 19, 2019) (holding refiled complaint alleging

similar facts, claims, and defenses effectively amended and related back to a complaint previously

dismissed under Rule 12(b)); Activision Blizzard Inc. v. Acceleration Bay LLC, No. 16-cv-03375-

RS, 2016 U.S. Dist. LEXIS 119289, at *14-15 (N.D. Cal. Sep. 1, 2016) (same).

       Moreover, the cases cited by Intel are distinguishable. All of the cases are specific to

equitable tolling of statutes of limitations in employment discrimination cases. Carter v. Texas

Dep’t of Health is a non-precedential decision where the original action was dismissed for lack of

diligence by the plaintiff’s counsel. See 119 F. App’x 577, 581 (5th Cir. 2004). The court in Carter

specifically contrasted the dismissal of the original complaint due to lack of diligence with

dismissal due to defective pleadings. Luckett v. Rent-A-Center is a Seventh Circuit case where the

plaintiff did not even argue for relation back. 53 F.3d 871, 872 (7th Cir. 1995). And Abram-Adams

v. Citigroup, Inc. is an Eleventh Circuit case where the plaintiff only filed a new case after failing

to amend a complaint after a district court’s explicit one-year deadline. 491 F. App'x 972, 976

(11th Cir. 2012). In contrast, HDC is properly following the procedures allowed by this Court.

HDC refiled a functionally amended complaint involving the same parties and patents and

essentially the same claims and defenses, where the Court specifically held that the original

complaint could be refiled with more detailed factual allegations.
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       For these reasons, HDC’s refiled complaint should be allowed to proceed under the original

case number, 6:20-cv-00666-ADA.



Dated: June 15, 2022                                Respectfully submitted,



                                                    By:    /s/ William Flachsbart
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                                CERTIFICATE OF SERVICE


       I hereby certify that on June 15, 2022, the foregoing was filed electronically in compliance

with Local Rule CV-5(b)(1) and served via the Court’s electronic filing system on all counsel who

have consented to electronic service.



                                                    /s/ William W. Flachsbart

                                                    William W. Flachsbart
